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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


DAVID SAMBRANO, et al., individually, §
and on behalf of all others similarly situated, §
                                                §
       Plaintiffs,                              §
                                                §
                                                §
       v.                                       §   Civil Action No. 4:21-CV-01074-P
                                                §
UNITED AIRLINES, INC.,                          §
                                                §
       Defendant.                               §




        DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
 RECONSIDERATION OF ORDER PARTIALLY GRANTING MOTION TO DISMISS
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                                        INTRODUCTION

        Plaintiffs’ motion for reconsideration seeks an almost total do-over of the Court’s decision

on United’s partial motion to dismiss. Their motion does not allege a discrete error on some

particular point. Instead, according to the Plaintiffs, the Court did not get anything right – it

supposedly “overlooked” facts, misread the allegations in the Second Amended Complaint, and

misapplied the law on virtually every issue. Indeed, the Plaintiffs even accuse the Court of

misunderstanding the elementary principles governing the standard of review under Rule 12(b)(6).

They ask the Court to perform a complete 180, or failing that, to allow them to start over with yet

another amended complaint.

        Nothing in their motion provides any valid basis for reconsideration. As explained in detail

below, Plaintiffs did not and cannot show the Court made any legal or factual error that undermines

(1) the dismissal of their ill-conceived retaliation claims; (2) the dismissal of failure-to-

accommodate claims by Plaintiffs who were never placed on unpaid leave and did not suffer an

adverse action; or (3) the dismissal of the time-barred Title VII claims.

        The Court should be particularly wary of granting reconsideration given the timing of

Plaintiffs’ request. Because they waited until the very last moment to seek reconsideration,

Plaintiffs’ proposed relief would, in effect, require redoing the class certification briefing, thereby

delaying these proceedings yet again. Likewise, Plaintiffs’ alternative proposal to file a third

amended complaint would not only be futile, but would be prejudicial to United given how far

along we are in this case.

        For the better part of a year, Plaintiffs complained about how long this litigation has

dragged on. But apparently Plaintiffs are only interested in expeditious resolution if they prevail.

This Court should not condone dilatory and wasteful relitigation of its well-reasoned decision,

especially at this point in the case.
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                                         BACKGROUND

       Plaintiffs have filed three complaints in this lawsuit, most recently the February 2023

Second Amended Complaint (“SAC”). ECF Nos. 1, 67, 156. In its December 18, 2023 decision

on United’s motion to partially dismiss the SAC (“MTD Order”), the Court “agree[d] with United

that (1) Hamilton and Castillo have not suffered an adverse employment action, (2) United did not

retaliate against Plaintiffs for seeking an accommodation, (3) Medlin, Rains, and Castillo’s claims

are time-barred in full or in part, and (4) Jonas’s Title VII claim is beyond the scope of her EEOC

charge.” MTD Order at 3. The Court denied the remainder of the motion to dismiss. Plaintiffs

filed their motion for class certification on January 12, 2024, based on just the remaining Plaintiffs’

claims, and without mentioning the possibility of reconsideration. But then, on January 16, the

final day to file for reconsideration of the Court’s December 18 order, Plaintiffs asked this Court

to reverse itself on the first three rulings above (but do not seek reconsideration of the fourth

ruling). ECF Nos. 241, 242 at 4–5.

                                      LEGAL STANDARDS


       Reconsideration. “A party may not use a Rule 59(e) motion to relitigate issues that were

resolved to the movant’s dissatisfaction.” Godwin Gruber, P.C. v. Deuschle, 2003 WL 21283186,

at *1 (N.D. Tex. May 28, 2003); see Jennings v. Towers Watson, 11 F.4th 335, 345 (5th Cir. 2021)

(affirming denial of 59(e) motion because it “presented neither an error that undermined the

correctness of the judgment nor newly discovered evidence nor an intervening change in law”);

LeClerc v. Webb, 419 F.3d 405, 412 n.13 (5th Cir. 2005) (“A motion for reconsideration may not

be used to rehash rejected arguments or introduce new arguments.”). Instead, a motion for

reconsideration “is an extraordinary remedy that should be used sparingly.” Allen v. Envirogreen

Landscape Prof’ls, Inc., 721 F. App’x 322, 328 (5th Cir. 2017). It should be denied unless the


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movant “clearly establish[es] either a manifest error of law” or “present[s] newly discovered

evidence.” Schiller v. Physicians Res. Grp. Inc., 342 F.3d 563, 567 (5th Cir. 2003).1

        Leave to Amend. Rule 15 provides for amendment as of right, at the latest, twenty-one

days after the defendant files a motion to dismiss. See FED. R. CIV. P. 15(a). After that, Rule

15(a)(2) requires consent or the court’s leave, and “leave to amend is ‘by no means automatic.’”

Greer v. Fowler, 2022 WL 394762, at *7 (N.D. Tex. Feb. 8, 2022) (Pittman, J.). The Court may

exercise its discretion to deny leave “for undue delay, [or] bad faith,” as well as “undue prejudice

to the opposing party, or futility of a proposed amendment.” Id. (quoting Simmons v. Sabine River

Auth. La., 732 F.3d 469, 478 (5th Cir. 2013)). A complaint is futile if it would still be “subject to

dismissal” with the amendment. Simmons, 732 F.3d at 478.

                                          ARGUMENT

        Plaintiffs’ Motion (ECF No. 242 (“Mot.”)) seeks to repackage arguments this Court

properly rejected, to raise arguments they could have raised but did not – either in their opposition

brief (ECF No. 213) or their supplemental brief (ECF No. 227) – and does not identify any change

in controlling law. Because these are not proper uses of a reconsideration motion, the Court may

deny Plaintiffs’ effort to revive the dismissed claims and parties on this basis alone. LeClerc, 419

F.3d at 412 n.13; Deuschle, 2003 WL 21283186, at *1. As described below, Plaintiffs’ arguments

are also unavailing on the merits.




1
        Courts follow a similar approach when a party seeks reconsideration under Rule 54(b). See
Vetcher v. Sessions, 2018 WL 4006813, at *1 (N.D. Tex. Aug. 7, 2018) (explaining that “[i]n
determining a motion under Rule 54(b), courts in this circuit have looked to the standards of
Rule 59(e)”); see also Koeppel v. Hartford Accident & Indem. Co., 608 F. Supp. 3d 398, 402–03
(E.D. La. 2022) (although reconsideration under Rule 54(b) is “less stringent” than under Rule
59(e), regardless of the rule cited, a “motion to reconsider is not the proper vehicle for rehashing
evidence, legal theories, or arguments that could have been offered or raised before”).

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I.     The Court Did Not Err in the Legal Standards it Applied.
       Plaintiffs begin by claiming that the Court confused the motion-to-dismiss standard with

the merits standard because it required Plaintiffs to prove or “show” the elements of their claims

rather than just plausibly allege them. Mot. at 5. In making that argument, they fixate on a few

cherry-picked words and phrases in the Court’s decision. Id.

       A fair reading of this Court’s entire decision clearly demonstrates otherwise. For example,

the heading of the section in the decision addressing the adverse-action element explains that

“Castillo and Hamilton do not allege more than a de minimis adverse employment action.” MTD

Order at 4 (emphasis added). The Court goes on to analyze at length why the various things that

“Hamilton and Castillo allege” did not exceed “the de minimis standard” for adverse action that

the Fifth Circuit has adopted. Id. at 6–7 (emphasis added). Likewise, as to retaliation, this Court

relied on a fact that was “undisputed” in the Second Amended Complaint – i.e. that unvaccinated

employees who did not seek an accommodation were terminated, MTD Order 15 (citing ECF No.

156 at 2) – to support its purely legal conclusion that “[n]o reasonable worker” would have been

deterred from seeking an accommodation. Id. (emphasis added). As to timeliness, the Court’s

dismissal rested on the interpretation and application of Holowecki and the other controlling legal

standards. Id. at 17–26.

       Plaintiffs nevertheless complain that “the Court’s decision did not address the plausibility

standard even once when discussing the contents of the SAC.” Mot. at 5. But this Court clearly

acknowledged and articulated “the plausibility standard” that governed its review. MTD Order at

2. Likewise, it refused to dismiss the ADA failure-to-accommodate claims because it concluded

that Jonas and Rains “ha[d] sufficiently pleaded disabilities within the meaning of the ADA—at

least at the motion to dismiss stage.” Id. at 12.


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        The Court’s verbiage makes clear that it was not “ignoring” the plausibility standard with

respect to the claims it dismissed.          Rather, it recognized that the problem with Plaintiffs’

allegations was legal sufficiency, i.e., whether there is some insuperable legal barrier to relief. See,

e.g., MTD Order at 2, 6–7, 15; see also, e.g., Residents Against Flooding v. Reinvestment Zone

No. Seventeen, 260 F. Supp. 3d 738, 756 (S.D. Tex. 2017) (explaining that “[d]ismissal is

appropriate when the plaintiff [either (i)] fails to allege enough facts to state a claim to relief that

is plausible on its face” or (ii) where a complaint is based on a “meritless legal theory or a violation

of a legal interest that does not exist”).

        On a related note, it is somewhat ironic that – in the midst of complaining about the Court’s

articulation of the standard of review – Plaintiffs themselves ignore the Rule 12(b)(6) standards,

pointing to all manner of new factual material from outside of the complaint. See, e.g., Mot. at 2–

3, 9, 13 n.8, 20. In doing so, Plaintiffs are selectively quoting or otherwise mischaracterizing

snippets of the factual record on a number of hotly contested propositions.2 But even if Plaintiffs’

characterizations of these additional facts were accurate, “[i]n ruling on a Rule 12(b)(6), ‘courts

must limit their inquiry to the facts stated in the complaint.’” Delhomme v. Caremark Rx Inc., 232

F.R.D. 573, 577 (N.D. Tex. 2005) (quoting Lovelace v. Software Spectrum Inc., 78 F.3d 1015,

1017 (5th Cir. 1996)). And, as explained below, even assuming the truth of everything Plaintiffs

want to add, this Court’s order should still stand.


2
        To provide just one example, Plaintiffs assert that United made the masking policy “very
serious” to punish employees. Mot. 20. But that is flatly contradicted by testimony that United
emphasized compliance due to safety concerns and TSA requirements. App. 6. At the same time,
Plaintiffs ignore where discovery undermined their allegations. For example, Mr. Rains testified
that the SAC allegations about his medical condition – which the Court noted in its MTD Order
(at 11–12) – are incorrect. Mr. Rains does not, in fact, assert any “allergic reaction as a basis for
[his] medical RAP” or ADA claims. App. 10–12. United will be addressing Plaintiffs’ factual
mischaracterizations in more detail in its forthcoming Opposition to Plaintiffs’ Motion for Class
Certification.

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II.    The Court Correctly Dismissed Plaintiffs’ Retaliation Claims.

       This Court held that Plaintiffs’ retaliation claims “attempt to fit a square peg into a round

hole,” by “cry[ing] retaliation for United’s supposed failure to reasonably accommodate.” MTD

Order 17. As to the facts, the Court emphasized that it was “undisputed that unvaccinated

employees who did not seek an accommodation were terminated for failing to comply with

United’s vaccine mandate.” Id. at 15. As to the law, the Court concluded that United’s “unpaid

leave policy” was not “an adverse employment action” for purposes of Plaintiffs’ retaliation claim,

because “[n]o reasonable worker would be deterred by United’s unpaid leave policy from seeking

an accommodation if they knew the alternative was termination.” Id. Plaintiffs’ Motion does not

(and cannot) dispute the factual premise, and its objections to the legal conclusion mischaracterize

this Court’s decision and antiretaliation law.

       Plaintiffs principally assert that “[t]he Court did not apply th[e] test” that, for purposes of

retaliation claims, an “adverse employment action” is one that “‘well might have dissuaded a

reasonable worker’ from engaging in the protected conduct.” Mot. at 7–8 (quoting Burlington N.

& Santa Fe Ry. Co. v. White, 548 U.S. 53, 66–68 (2006)). That is plainly false. This Court

expressly articulated and applied that very test: “In the retaliation context, an adverse employment

action is one that might dissuade a reasonable worker from engaging in a protected activity[.] . . .

Thus, the question is whether United’s indefinite unpaid leave policy would have dissuaded a

reasonable worker from seeking an accommodation, given that failure [to] get vaccinated or seek

an accommodation would result in termination.” MTD Order at 14–15. Plaintiffs’ objection is

that this Court paraphrased that standard as whether they were “‘treated materially worse’” because

they requested an accommodation. Mot. at 8. But as they acknowledge on the previous page,

Burlington Northern itself said it was adopting a “‘materially adverse’” standard, id. at 7 (quoting

548 U.S. at 68), and “worse” is just a synonym for “adverse.”
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       Plaintiffs additionally insist that “the Supreme Court and the Fifth Circuit have already

concluded that the threat of unpaid leave is itself sufficient to state a claim of retaliation.” Mot. at

9. Again, not true. Indeed, Plaintiffs did not make this argument when opposing dismissal, see

ECF No. 213 at 13–14, and for good reason: Neither of the cases they cite, see Mot. at 9, holds

that unpaid leave satisfies the “materially adverse” retaliation standard when it is offered as an

accommodation from termination for non-compliance with company policy.

       Burlington Northern merely held that a “suspension without pay” imposed as a penalty for

“filing a discrimination complaint” about a hostile work environment “could well act as a

deterrent,” precisely because the temporary loss of pay made the employee much worse off than

if she had not filed the complaint and thus had retained her job and pay. 548 U.S. at 72–73.

Moreover, in Brandon v. Sage Corp., 808 F.3d 266 (5th Cir. 2015), while the court “d[id] not

reject the possibility that a realistic, drastic pay cut threat might deter someone from supporting a

discrimination charge in certain circumstances,” it held that “no reasonable jury would find that

to be the case [t]here,” because the threat was made “by someone outside [the employee’s] chain

of command and who she knew had no final decision-making authority.” Id. at 271 (emphasis

added). Plaintiffs’ retaliation claims are far weaker than the one rejected in Brandon: rather than

threatening to penalize Plaintiffs for protected activity, United treated Plaintiffs better, not worse,

because they requested accommodations. In short, as this Court correctly held, even if some

employees viewed the unpaid-leave accommodation as “unreasonable,” both law and logic compel

the conclusion that “reasonable employees would (and did) seek [that] accommodation to avoid

termination.” MTD Order at 15–16.3



3
       As this Court recognized, the same rationale applies to Plaintiffs’ ancillary objections that
the “accommodation process” was “unreasonable.” See Mot. at 8–9. Plaintiffs identify no way in
which they were treated worse because of the accommodation process than the termination that
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       Lacking any argument under controlling precedent, Plaintiffs emphasize a non-binding

decision by another district court. See Mot. at 1, 7, 9–10 (citing McNeill v. Tyson Fresh Meats,

Inc., 2023 WL 8532408 (N.D. Tex. Dec. 8, 2023)). But McNeill is unpersuasive because it failed

to grapple with the critical issue that this Court identified. The McNeill decision’s discussion of

the “materially adverse” standard never explained how an unpaid-leave accommodation would

dissuade a reasonable employee from seeking an accommodation when the alternative was

termination. See id. at *5–6. To the contrary, the McNeill decision acknowledged that “[t]he most

viable option for a religious objector . . . was to accept a complete reduction in pay and hope [the

employer] rescinded the policy,” id. at *6, which confirms that reasonable employees seeking to

avoid termination would not be dissuaded from requesting that accommodation, however

unreasonable they may deem it. Simply put, the McNeill court conflated the question of whether

unpaid leave “is not a reasonable accommodation” (the standard for a failure-to-accommodate

claim) with the question of whether it is a materially “adverse employment action” compared to

termination (the standard for a retaliation claim based on the allegedly protected activity of

requesting an accommodation from termination). Id.4



they would have suffered if they had not requested an accommodation at all. So while some
employees may have been dissatisfied with the accommodation process and result, as a matter of
law, “[n]o reasonable worker would be deterred . . . from seeking accommodation” in these
circumstances. MTD Order 15.
4
       McNeill is also factually distinguishable. There, the accommodation provided was “up to
one-year unpaid leave until either the policy was rescinded, the employee complied, or the leave
period expired — culminating in termination.” 2023 WL 8532408, at *6 (emphasis added).
Accordingly, the McNeill court viewed that accommodation as merely “delaying eventual
termination.” Id. Whether or not that characterization was appropriate there, it certainly does not
apply here. Rather than a delayed termination, United provided what Plaintiffs characterize as
“indefinite” unpaid leave to accommodated employees until the pandemic subsided, see MTD
Order 15; SAC ¶ 77. And, as it turned out, United employees returned to work after only about
four months, SAC ¶ 43 n.1. Plaintiffs also ignore the further distinction that all United employees
had the option to remain employed in alternative positions.

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       Relatedly, Plaintiffs try to relitigate their argument that they can “maintain a retaliation

claim that relies on facts that also give rise to a failure-to-accommodate claim.” Mot. at 10. But

they have no persuasive response to this Court’s explanation that treating the alleged

unreasonableness of an accommodation as itself retaliatory “would erode the difference between

a failure-to-accommodate claim and a retaliation claim.” MTD Order at 16. Plaintiffs contend

that doing so would not “conflict” with the statutory scheme, Mot. at 12, but that is clearly wrong:

their position would eviscerate the undue-hardship defense, which applies to failure-to-

accommodate claims but not retaliation claims.         Compare 42 U.S.C. § 2000e(j), and id.

§ 12112(b)(5), with id. § 2000e-3(a), and id. § 12203(a).       Under Plaintiffs’ theory, even if

providing a reasonable accommodation would impose an undue hardship on an employer—thus

defeating a failure-to-accommodate claim—an employee could simply allege that the employer’s

refusal to provide a desired accommodation was prohibited retaliation, on the rationale that the

company’s announced decision to deny the accommodation, and the resulting threat of discipline

for non-compliance with the company policy, “coerce[d] employees to get [in compliance] . . .

rather than seek an accommodation.” Mot. at 8–9. As this Court recognized, “any arguably

unreasonable accommodation could be said to ‘dissuade’ workers from seeking it,” but that does

not establish adverse employment action for purposes of a retaliation claim. MTD Order at 16.

       Plaintiffs still cannot cite any authority in support of their flawed theory. They mostly

invoke the same inapposite cases they unsuccessfully cited when opposing dismissal. Compare

Mot. at 11–12, and ECF No. 213 at 12, with ECF No. 215 at 6 n.3. And the only new case they

cite other than McNeill – namely, Lewis v. New York City Transit Auth., 12 F. Supp. 3d 418

(E.D.N.Y. 2014) – says the exact opposite of what they assert. They say the Lewis court

“concluded that the same reasons [a] transfer could not be deemed reasonable also rendered the



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transfer materially adverse for the retaliation claim.” Mot. at 11. But the transfer in Lewis was

not an accommodation at all. As that court explained, “secular bus drivers who violated the Transit

Authority’s headgear policy – such as drivers who wore FDNY hats in solidarity with the fire

department after 9/11 – were not disciplined.” 12 F. Supp. 3d at 451. Thus, transferring only a

bus driver who objected to the policy on religious grounds was not accommodating her by treating

her better, but rather discriminating against her by treating her worse. See id. Here, by contrast,

“it is undisputed that unvaccinated employees who did not seek an accommodation were

terminated for failing to comply with United’s vaccine mandate.” MTD Order at 15.

        In sum, Plaintiffs still cannot “fit a square peg into a round hole.” Id. at 17. They have

provided this Court with no reason to reconsider its well-reasoned refusal to let them “cry

retaliation for United’s supposed failure to reasonably accommodate.” Id.

III.    The Court Correctly Ruled That Castillo and Hamilton Did Not Suffer an Adverse
        Employment Action.
        Based on a careful analysis of the Hamilton and Harrison precedents, this Court recognized

that the Fifth Circuit has adopted a de minimis or materiality standard for evaluating an actionable

adverse employment action. MTD Order at 4–6. That standard ensures that district courts do not

“become ‘super-personnel departments’” and avoids expanding Title VII “into the sphere of [ ]

workplace trifles.” Id. at 7. Then, “[h]aving clarified the applicable standard,” (id. at 6), the Court

held that neither Ms. Hamilton’s and Mr. Castillo’s objections to (i) their experiences with

United’s masking and testing protocol, nor (ii) to an accommodation they never received (i.e.,

unpaid leave) “clear[ed] the de minimis threshold” (id. at 7).5 Each of Plaintiffs’ arguments for

revisiting these rulings fails.


5
         As described below, infra at IV.B., the Court also correctly held that Mr. Castillo’s claims
fail for the independent reason that they are time barred.

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       First, Plaintiffs argue that the Court required Plaintiffs to plead facts sufficient to prove a

prima facie case but that need not be alleged to survive a 12(b)(6) motion. Mot. at 15–16. As the

very case they cite explains, however, Plaintiffs “must plead sufficient facts on all of the ultimate

elements of [the] claim.” Cicalese v. Univ. of Tex. Med. Branch, 924 F.3d 762, 766 (5th Cir. 2019)

(citation and alteration omitted). And Fifth Circuit law, including Cicalese, is clear that one of

those “ultimate elements a [Title VII] plaintiff must plead” is “an adverse employment action.”

Id. at 767. Indeed, both Hamilton and Harrison arose in the context of a motion challenging the

pleadings, and both adhered to the settled view that a failure to allege an actionable adverse action

can be raised in that context. See Hamilton v. Dall. Cnty., 79 F.4th 494, 506 (5th Cir. 2023);

Harrison v. Brookhaven Sch. Dist., 82 F.4th 427, 432 (5th Cir. 2023). Therefore, the Court

properly asked whether Ms. Hamilton and Mr. Castillo had sufficiently alleged this element.

       Second, Plaintiffs suggest that this Court misunderstood the post-Hamilton adverse action

requirement. Mot. at 15–16. But as this Court has now explained in multiple cases, “Hamilton

brought the Fifth Circuit in line with Title VII’s text and the approach taken by other circuits” and

that “this Court will not expand the Hamilton standard into the sphere of . . . workplace trifles,

absent clear direction from the Fifth Circuit.” MTD Order at 7.6 That is an eminently sensible

reading, which is further supported by Harrison’s reasoning that the “more than de minimis”

standard performs a similar function to the “materiality” rule and prevents transforming “Title VII

into a general civility code for the American workplace.” 82 F.4th at 431.7


6
       See also, e.g., Dixon v. Garland, 2024 WL 150509, at *4–5 (N.D. Tex. Jan. 12, 2024)
(addressing the post-Hamilton standard); Lindsey v. American Airlines, 2023 WL 5807015, at *2
(N.D. Tex. Sept. 7, 2023) (same).
7
        There is no basis to replace this understanding of the materiality/de minimis standard with
a dictionary definition of “very small or trifling” from Groff v. DeJoy, 600 U.S. 447 (2023)
(Mot. at 4, 16–17), which was addressing a different issue. Indeed, Groff cautioned against
“read[ing] [words] in isolation.” Id. at 465.

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       Third, Plaintiffs are also incorrect that the Court “overlooked” certain allegations in

applying the post-Hamilton standard. Mot. at 18–19. Plaintiffs point to allegations about lack of

“training and oxygenation breaks” and to Mr. Castillo’s alleged inability “to communicate with

colleagues.” Id. But those allegations appear on the same pages of the complaint that the Court

cited in describing Plaintiffs’ allegations, see MTD Order at 6–7 (citing ECF No. 156 at 27, 29).

Although this Court did not quote each one, that is presumably because they are all just as trivial

as the allegations that the Court rejected as “not clear[ing] the de minimis threshold,” such as

“making it hard . . . to breathe” and being “needlessly banished to eat outdoors.” Id.

       Plaintiffs also emphasize their allegations about the “context,” which they describe as an

accommodations process designed to “harass[]” and “coerc[e]” employees. Mot. at 19 (i.e.,

alleging that United “subjected religious employees to harassing questions about their faith . . .

then announced . . . that all accommodated employees would be put on indefinite, unpaid leave”).

Those allegations are doubly immaterial.        First, they are irrelevant to Ms. Hamilton and

Mr. Castillo, as neither one alleges being among those who were asked any offending questions,

SAC ¶¶ 106–120, 121–133, and because, as the SAC admits, both of their exemption requests were

approved, id. ¶¶ 17, 127, and neither of them experienced unpaid leave, id. ¶ 142. Second, they

are irrelevant more generally because Plaintiffs’ SAC does not include a hostile-work-environment

claim. Allegations about the “context” of the accommodation process have no bearing on their

failure-to-accommodate claim and whether the accommodations they actually received can be

construed as adverse action.8


8
        Plaintiffs try to augment their “contextual” allegations by referring to the discovery record
(Mot. at 20), referring to emails about whether there should or could be “automatic[] terminat[ion]”
for violating the masking-and-testing protocol. Even if it were proper to consider these new
allegations on a motion to dismiss, see supra at 5, Ms. Hamilton and Mr. Castillo never allege that
they faced any threat of termination for non-compliance.

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       Fourth, Plaintiffs “attempt[] to relitigate . . . [the] argument[]” (ECF No. 115 at 1) about

whether the unrealized “threat” of unpaid leave constitutes an adverse action. Compare Mot. at

17–18, with MTD Order at 8 (explaining that “Hamilton and Castillo were not fired, their

compensation was not changed, and United’s unpaid leave policy did not affect these Plaintiffs’

terms, conditions, or privileges of employment”). Here again, Plaintiffs’ only argument is that this

Court’s conclusion conflicts with the McNeill decision. Mot. at 17–18.

       That is not so. McNeill did not involve an employer who tentatively announced a policy

that it never actually implemented vis-à-vis the employee complaining about the policy. Rather,

in McNeill, the employer subjected the employee to an immediate choice: termination, unpaid

leave followed by termination, or vaccination. 2023 WL 8532408, at *6. The employee responded

to these options by choosing to get vaccinated. Id. at *2. Here, by contrast, United tentatively

announced that the initial accommodation for non-customer facing employees would be temporary

unpaid leave, while making clear that it was working on developing alternative accommodations.

Then, before Ms. Hamilton and Mr. Castillo would have been placed on unpaid leave, they – along

with all other non-customer facing employees – were “allowed to work with mask-wearing and

testing protocols.” SAC ¶ 9; SAC p. 21 n.2; ¶ 142. See also Sambrano v. United Airlines, Inc.,

2022 WL 486610, at *2 (5th Cir. Feb. 17, 2022) (distinguishing between flight crew facing unpaid

leave and Ms. Hamilton and Mr. Castillo who “continue[d] to work and be paid without receiving

a COVID-19 vaccine”). As this Court recognized, if an employer tentatively announces a policy

but then reconsiders or offers something different, the employees have not actually suffered any

adverse employment action. MTD Order at 8.9


9
       That is especially so here, given that, unlike the plaintiff in McNeill, neither Ms. Hamilton
nor Mr. Castillo ever chose to get vaccinated. Even if they were “coerced,” that is “exogenous”
harm and thus not remediable under Title VII. Sambrano, 2022 WL 486610 at *7.

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       Finally, Plaintiffs argue that the Court’s opinion “is internally inconsistent regarding

Hamilton’s and Castillo’s failure-to-accommodate claims.” Mot. at 20. Again, this is a pedantic

quibble; the opinion needs no clarification. It is obvious that reasonableness and adverse action

are separate elements of a failure-to-accommodate claim. See, e.g., Tagore v. United States, 735

F.3d 324, 329 (5th Cir. 2013). This Court held that whether masking and testing is a “reasonable”

accommodation should not be resolved at the motion-to-dismiss stage, MTD Order at 9, but also

found that Plaintiffs’ objections to masking and testing did not satisfy the different legal standard

for the adverse-action element. Id. at 6–8.10 In any event, it is well-settled that a motion to

reconsider must address “manifest errors,” not mere alleged inconsistencies in the wording of a

court’s decision. Jennings, 11 F.4th at 345.

IV.    The Court Correctly Ruled That Castillo’s, Medlin’s and Rains’ Claims Are Time-
       Barred.
       In ruling on timeliness, the Court correctly described the applicable standards: A charge

is timely if it is filed within 300 days of the employee’s notice of the complained-of employment

practice. MTD Order at 17; see 42 U.S.C. § 2000e-5(e)(1); 42 U.S.C. § 12117(a). A filing must

both satisfy the regulatory requirements of a charge and “it must be reasonably construed as a

request for the agency to take remedial action to protect the employee’s rights or otherwise settle

a dispute between the employer and the employee.” Fed. Exp. Corp. v. Holowecki, 552 U.S. 389,

402 (2008). The Court applied these standards to conclude that Medlin’s, Castillo’s and Rains’

reasonable accommodation claims are untimely. MTD Order at 17–26. In arguing to the contrary,

Plaintiffs misconstrue controlling precedent and focus on legally irrelevant facts.


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        If the Court did revive Ms. Hamilton’s or Mr. Castillo’s claims on the employee-specific
factual grounds that Plaintiffs urge, it would only further cement the conclusion that there are
individualized issues that preclude certification as a class action. See Mot. at 17 (arguing that
whether adverse action exists “depends on the specific allegations”).

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       A.      Ms. Medlin’s Failure-To-Accommodate Claim Is Untimely.

       Plaintiffs tacitly concede that the Court was correct when it found that “United’s denial of

[Medlin’s] accommodation request in September 2021 occurred well before the 300-day window

of her EEOC charge.” Mot. at 21 (alterations omitted) (quoting MTD Order at 23). Nevertheless,

Plaintiffs argue the Court misapplied the law to these facts because Ms. Medlin’s March 2022

“termination was inextricably linked” to her earlier accommodation request. Mot. at 21. Plaintiffs

raised this argument in their opposition brief (ECF No. 213 at 19 n.9; ECF No. 227 at 10 n.5), and

the Court expressly addressed and rejected it. MTD Order at 22–23 (“United’s denial of Medlin’s

accommodation request was not a continuing violation, it was a discrete act.”).

       Plaintiffs also try two variations on their previous arguments, each of which is foreclosed

by precedent. First, Plaintiffs argue that the statute of limitations for Ms. Medlin’s claim did not

begin to run until her employment was impacted by the denial decision (i.e. when she was

terminated). Mot. at 21. But under Supreme Court precedent, the charge-filing period begins

when an employee receives notice that the employer has made the challenged decision, not when

the effects of that decision are felt. Delaware State Coll. v. Ricks, 449 U.S. 250, 256–59 (1980)

(Title VII claim accrued “at the time the tenure decision was made and communicated,” even

though “the effects of the denial of tenure–the eventual loss of a teaching position–did not occur

until later”); accord Simotas v. Kelsey-Seybold, 211 F. App’x 273, 275 (5th Cir. 2006) (“The

relevant date for determining the beginning date for the limitations period is the day the employee

learns that the challenged decision has been made, not when she feels the effects of that decision.”).

Therefore, this Court was correct when it found that the September 2021 denial of Ms. Medlin’s

accommodation request triggered the 300-day charge deadline, “[e]ven though Medlin did not

require an accommodation until she returned to work.” MTD Order at 23.



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       Second, Plaintiffs claim the Court erred in relying on Henson v. Bell Helicopter Textron,

Inc., 128 F. App’x 387, 391 (5th Cir. 2005), for its conclusion that “an employer’s ‘failure to

provide accommodations’ is a discrete act that does not qualify under the continuing violation

doctrine,” MTD Order at 22. Mot. at 22. As an initial matter, Plaintiffs seek to distinguish Henson

by noting that Jurach v. Safety Vision, LLC, 72 F. Supp. 3d 698 (S.D. Tex. 2014), discussed Henson

and observed that it is possible for the continuing violation doctrine to apply to a failure-to-

accommodate lawsuit. What Plaintiffs leave out, however, is that the Jurach court agreed that

“denials of accommodation requests [are] discrete events rather than continuing violations.” Id.

at 707. In Jurach – unlike in Ms. Medlin’s case or in Henson – none of the requests for an

accommodation “were explicitly denied in the sort of discrete and salient event that should put an

employee on notice that a cause of action has accrued.” Id. (citation omitted). See also SAC ¶

176 (admitting Ms. Medlin knew of the denial while on maternity leave). Instead, the defendant

in Jurach had granted the accommodation requests. Thus, Jurach stands for the propositions (fully

consistent with dismissing Ms. Medlin’s claims) that an employer’s prior grant of an employee’s

accommodation requests does not begin the charge-filing period but an employer’s subsequent

“explicit denial” of a request does start the clock. Id. at 707.

       Plaintiffs further argue that the rule articulated in Henson does not apply here because

United supposedly “directed employees to address accommodation requests upon return from

leave.” Mot. at 22.11 Even if that were true, it would be a legally immaterial distinction. A discrete

act does not become a continuing violation merely because the employer provides an opportunity

for internal reconsideration. To the contrary, the Supreme Court has held “that the pendency of a


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       This factual assertion finds no support in Plaintiffs’ complaint, which only alleges that Ms.
Medlin “assumed” she could address the denial of her accommodation when she returned from
maternity leave. SAC ¶ 176.

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grievance, or some other method of collateral review of an employment decision, does not toll the

running of the limitations periods.” Ricks, 449 U.S. at 261. In other words, the fact that an

employee can or did challenge the complained-of decision does not impact the statute of

limitations for filing a charge. This is because “[m]ere requests to reconsider . . . cannot extend

the limitations periods applicable to the civil rights laws.” Id. at 261 n.15. Therefore, “an employer

standing by a prior denial after an employee requests reconsideration neither constitutes a discrete

act nor extends the filing period.” Das v. Am. Airlines, Inc., 2020 WL 364264, at *3 (N.D. Tex.

Jan. 21, 2020). Accordingly, Plaintiffs have identified no plausible error in the Court’s decision

dismissing Ms. Medlin’s failure-to-accommodate claim as untimely.

       B.      Mr. Castillo’s Claims Are Untimely.

       Plaintiffs’ Motion with respect to Mr. Castillo’s untimely charge largely relitigates points

from their supplemental brief. See MTD Order at 25–26. Plaintiffs’ various repackaged efforts to

overcome the Holowecki standard (Mot. at 23–25) fall short.

       First, Plaintiffs argue that the Court “overlooked Holowecki’s goal of ensuring that filed

materials express a desire for the administrative machinery to be set into motion.” Mot. at 23–24.

To the contrary, this Court correctly articulated the Supreme Court’s goal: to “put in place a

‘mechanism to separate information requests from enforcement requests.’” MTD Order at 21

(quoting Holowecki, 552 U.S. at 401). A key aspect of that test from Holowecki is that the EEOC

filing “must be reasonably construed as a request for the agency to take remedial action.” Id. See

also ECF No. 220; ECF No. 225 at 2–6. Thus, far from “overlook[ing]” anything, the Court simply

found that the complaint and judicially noticeable materials did not satisfy Mr. Castillo’s

obligation to show that his pre-charge filings must be reasonably construed as a request for action

from the EEOC. MTD Order at 24–26.



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       Second, Plaintiffs argue that because the EEOC “prepared a charge for [Castillo] to sign,”

this establishes that Mr. Castillo’s pre-charge filings met the Holowecki test. Mot. at 24. The

Court already correctly rejected this argument, citing controlling Fifth Circuit precedent. MTD

Order at 25 (“[T]he EEOC’s characterization of [a pre-charge filing] is not dispositive. What

constitutes a charge is determined by objective criteria.” Id. (quoting EEOC v. Vantage Energy

Servs., Inc., 954 F.3d 749, 755 (5th Cir. 2020))). Plaintiffs’ Motion does not and cannot explain

how this Court erred in following binding precedent that squarely disposes of their argument.

       Third, Plaintiffs argue that the Holowecki standard does not apply and “it does not matter

what Castillo’s inquiry said,” because the EEOC regarded Mr. Castillo’s pre-charge filings as a

“charge.” Mot. at 25 n.13. But this merely repackages Plaintiffs’ incorrect argument that the

Holowecki test is not objective, and that the Court should defer to the EEOC’s interpretation of an

employee’s pre-charge filings when deciding if Title VII’s jurisdictional prerequisites are met. As

this Court recognized, Plaintiffs’ position is contrary to law. MTD Order at 25; see also Cooper

v. Dall. Police Ass'n, 609 F. App’x 213, 214 (5th Cir. 2015) (courts should “not defer to the EEOC”

on whether plaintiff complied with Title VII’s pre-suit requirements).

       In any event, the EEOC did not treat Mr. Castillo’s pre-charge submissions as a charge. If

the EEOC had done so, it would have provided notice to United as required by Title VII, 42 U.S.C.

§ 2000e-5(e)(1), and its own regulations, 29 C.F.R. § 1601.14. The EEOC did not provide such

notice until after it received Mr. Castillo’s actual charge, many months later. See ECF No. 226,

Def.’s App. at 045 (Notice of Castillo Charge uploaded 9/20/2022). There is also no indication

that the EEOC investigated Mr. Castillo’s pre-charge filing, issued a determination about his

allegations, or attempted conciliation, all of which are acts that Title VII requires the agency to

perform when it receives a charge. See 42 U.S.C. § 2000e-5(b).



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       C.      Mr. Rains’ Claims Are Untimely.

       The Court also dismissed Mr. Rains’ claims as untimely. MTD Order at 23–24. Plaintiffs

raise two points in challenging that conclusion, neither of which has merit.

       First, Plaintiffs assert that the September 2021 form Mr. Rains sent to the Texas Workforce

Commission (“TWC”) was “sufficient to trigger all administrative review, both state and federal,”

in light of the TWC and EEOC’s worksharing agreement. Mot. at 23. However, under Holowecki,

not only must there be a request for remedial action, but the filing at issue must also satisfy the

applicable regulatory requirements for a charge. Holowecki, 552 U.S. at 402. Here, the Court

properly concluded that Mr. Rains’ unsuccessful filing with the TWC did not “satisfy the

requirements of a pre-charge filing with the EEOC.” MTD Order at 24.12 Among other things,

because it was unverified (ECF 228-4), Mr. Rains’ submission does not constitute a charge that

the TWC would dual file under its regulations.13 See Tex. Labor Code § 21.201 (“The complaint

must be in writing and made under oath.”). Mr. Rains’ TWC form did not meet the state agency’s

requirements for a “charge,” and does not otherwise indicate Mr. Rains’ intent to have the form

dual-filed with the EEOC. Indeed, the TWC expressly informed Mr. Rains it was not treating his

filing as a charge, both through the clear disclaimer printed on Mr. Rains’ form and again when

the TWC “dismissed” his inquiry and confirmed that the agency did not dual-file Rains’ pre-charge

filing with the EEOC. ECF No. 228-4 at 4 (“Submitting this Complaint Form DOES NOT

represent filing a formal Charge of Discrimination.”); ECF No. 228-6 at 2. Thus, Mr. Rains’ TWC


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       The Court assumed, for purposes of this discussion, that Mr. Rains’ TWC submission “may
[include] a specific request for remedial action” under Holowecki. MTD Order at 23–24.
13
        Even with the worksharing agreement between the TWC and the EEOC, the employee still
has the burden to establish that he filed a timely “charge.” See Connor v. Harris Cnty., 1992 WL
337420, at *5 (S.D. Tex. Sept. 17, 1992); see also EEOC, Fair Employment Practices Agencies
(FEPAs) and Dual Filing, available at https://www.eeoc.gov/fair-employment-practices-agencies-
fepas-and-dual-filing (state agency will only dual-file “charges” with EEOC).

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form does not qualify as a “charge.” See Ojedis v. JetBlue Airways Corp., 2008 WL 961884, at

*5 (W.D. Tex. Apr. 9, 2008), report and rec. adopted, 2008 WL 11417026 (W.D. Tex. Sept. 17,

2008) (deeming unverified submission with TWC not to be a “charge” and explaining that “unlike

Holowecki, the TWC did not treat Plaintiff’s intake questionnaire as a charge, and in fact informed

Plaintiff that it would not be preparing a charge of discrimination on his behalf”).

       Moreover, relation back cannot enable Mr. Rains to cure his failure to file a proper charge

with the TWC. Even under the EEOC’s charge requirements, Mr. Rains’ Texas pre-charge filing

still does not constitute a “charge.”      While a verification defect may be cured in some

circumstances, the TWC dismissed Mr. Rains’ pre-charge filing and never sent it to the EEOC.

See ECF No. 228-6 at 2. Because that happened, Mr. Rains’ later-filed EEOC charge cannot

“relate back” to the dismissed TWC form. See, e.g., Univ. of Tex. at El Paso v. Isaac, 568 S.W.3d

175, 186, n.10 (Tex. App. 2018) (“[A]n amendment filed after the file has been administratively

closed by the EEOC would be treated as a new charge.”); Gonzales v. Pan Am. Labs., L.L.C., 2017

WL 4758672, at *9 (N.D. Tex. Oct. 20, 2017) (“Because Plaintiff’s Intake Questionnaire and

narrative do not qualify as a charge, there would be nothing to which a newly verified charge by

Plaintiff would relate back.”). In short, Mr. Rains’ defective TWC filing was not timely and he

did not adequately exhaust his federal claims.

       Second, Mr. Rains argues that being placed on unpaid leave “was not a discrete act of

discrimination but a daily, ongoing discriminatory process.” Mot. at 23. Despite Mr. Rains’

emphasis on the allegedly “coercive” nature of unpaid leave, however, this argument fails for the

same reasons it does for Ms. Medlin—a failure-to-accommodate claim accrues when the employee

receives notice of the employer’s adverse accommodation decision, not each time later adverse

effects of that decision occur. See supra at IV.A.



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V.     Further Amendments to the Pleadings Would be Futile and Inequitable.
       Finally, Plaintiffs contend that, even if the Court were right to dismiss the claims at issue,

it was wrong to dismiss with prejudice; and they thus seek leave to amend their complaint yet

again. Mot. at 2, 6, 25. This fallback position fails too.

       First, when there is a legal obstacle to a claim, a dismissal with prejudice is warranted. See

Taubenfeld v. Hotels.com, 385 F. Supp. 2d 587, 592 (N.D. Tex. 2004) (“A dismissal with prejudice

is appropriate when amending a complaint would be futile.”). Here, for all the reasons discussed

above, Plaintiffs cannot resuscitate their claims with new or additional factual allegations because

(a) they were all treated better rather than worse because they requested accommodations;

(b) Ms. Hamilton and Mr. Castillo suffered nothing more than de minimis burdens from their

masking-and-testing accommodations; and (c) the undisputed factual record reflects that Messrs.

Castillo and Rains and Ms. Medlin failed to timely exhaust their administrative remedies.

       Second, Plaintiffs failed to submit a proposed amended complaint either during the motion

to dismiss briefing or with their reconsideration motion. That is fatal, as a plaintiff’s “failure to

provide and attach a proposed amended pleading alone [is] sufficient reason to deny [a] motion

for leave to amend.” Greer, 2022 WL 394762, at *7. Likewise, Plaintiffs, in opposing United’s

motion to dismiss, never sought an opportunity to replead their allegations or otherwise requested

dismissal without prejudice. Only now, having lost, do they want to do so.

       Third, undue delay and prejudice to United justify rejection of any amendment at this stage

of proceedings. Simmons, 732 F.3d at 478. Plaintiffs have already amended their complaint twice,

and granting them “leave to retroactively bolster [their] allegations with a new complaint” at this

late stage “would necessarily result in additional delay.” In re Gulf States Long Term Acute Care

of Covington, L.L.C., 2014 WL 107870, at *3 (E.D. La. Jan. 9, 2014). That is especially so given

this Court’s “deep[ ] concern[] about the age of this case.” ECF No. 211 & n.1.

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       Allowing another amendment now would be especially problematic for purposes of the

ongoing class certification briefing. United’s opposition to class certification is due in 3 days. Its

opposition does not, of course, address the dismissed Plaintiffs or the dismissed claims. Reviving

the now-dismissed portions of the case prejudices United’s ability to respond to the class

certification motion and would require further extension of the deadlines or an additional round of

class briefing. This Court has already granted numerous extensions, and stated that no further

extensions would be granted absent extraordinary circumstances. ECF No. 233 & n.1. Plaintiffs’

desire to try again to rehabilitate their failed claims is hardly an “extraordinary circumstance.” Nor

should United be forced to absorb the additional cost and delay of another round of class

certification briefing. As this Court has indicated, the time has come to resolve this case one way

or the other, and timely completion of the class certification briefing should go a long way toward

accomplishing that goal.

                                          CONCLUSION

       For the foregoing reasons, United respectfully requests that the Court deny Plaintiffs’

motion for reconsideration in all respects.




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Dated: February 6, 2024              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on February 6, 2024, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification to all counsel of record.

                                                            /s/ Russell D. Cawyer
                                                           Russell D. Cawyer




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